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 9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
12
       Interworks Unlimited, Inc., a California )    Case No. 2:17-cv-4983 AB TJH KSx)
13     corporation,                             )
14                                              )    MEMORANDUM OF POINTS AND
                     Plaintiff,                 )    AUTHORITIES IN SUPPORT OF
15           v.                                 )    MOTION FOR SUMMARY
16                                              )    JUDGMENT, OR IN THE
17     Digital Gadgets, LLC., a New Jersey      )    ALTERNATIVE FOR SUMMARY
       limited liability company,               )    ADJUDICTION OF CLAIMS
18                                              )
19                          Defendant.          )    Date:      December 17, 2018
       ________________________________ )            Time:      UNDER SUBMISSION
20                                              )    Courtroom: 9B
21     Digital Gadgets, LLC., a New Jersey      )
       limited liability company,               )
22
                                                )
23                          Counterclaimant,    )
24                    v.                        )
                                                )
25     Interworks Unlimited, Inc., a California )
26     corporation,                             )
                                                )
27
                            Counter-defendant )
28                                              )


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 1     INTRODUCTION
 2           Hoverboards were one of the “must-have” items of the holiday season of
 3     2016. Plaintiff/Counter Defendant Interworks Unlimited, Inc. ("Plaintiff"), a
 4     distributor of electronic goods, capitalized on the opportunity, and began selling
 5     hoverboards through QVC, Inc. (“QVC”). Defendant/Counterclaimant Digital
 6     Gadgets, LLC (“Defendant” or “Digital Gadgets”), who represented that they had
 7     the ability to get the hoverboards into the hands of the consumers faster, purchased
 8     hoverboards from Plaintiff and became indebted to the tune of over 1 million
 9     dollars. When it came time to pay for the boards, the Defendant simply refused.
10     Instead of recognizing its liability and fulfilling its obligations, Defendant has
11     attempted to deflect its responsibilities by throwing in a bunch of smokescreens
12     about the Plaintiff and the hoverboards.
13           While Defendant alleged that the hoverboards were defective and the
14     Plaintiff breached the parties’ agreements, the basic premise is undeniable: this is a
15     straight forward collections case. The undisputed material facts show that the
16     Defendant ordered the goods, accepted the goods and, despite complaining that the
17     boards were no good, continued to resell and/or retain the goods. Because the
18     Defendant refused to pay for or return the goods, the Plaintiff is entitled to
19     judgment as a matter of law.
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 1     I.    SUMMARY OF STATEMENT OF UNCONTROVERTED FACTS
 2           In 2016, Plaintiff, a distributor of electronic goods, recognized the increasing
 3     market for hoverboards and capitalized on the lucrative opportunity by selling
 4     hoverboards called “High Roller Self Balancing Hoverboard, Model C” (“Model
 5     C” or “Hoverboard”) through QVC, Inc. (“QVC”) as a “warehouse item.”
 6     (Statement of Uncontroverted Material Facts (“SOF”) ¶¶1-3) As a “warehouse
 7     item,” Plaintiff would deliver the hoverboards to QVC, who would deliver them to
 8     the purchasing customer. (SOF ¶9) Prior to selling the hoverboards, Plaintiff was
 9     required to, and did, submit the Model C to QVC for quality testing, which the
10     Hoverboards passed. A true and correct copy of the report is attached and
11     incorporated hereto as Exhibit 1. (SOF ¶4) QVC, which assigns Stock Keeping
12     Unit (“SKU”) numbers to the products it sells, assigned the Model C a SKU
13     number of T34604 (“604”). (SOF ¶ 8)
14           Plaintiff and QVC enjoyed a successful relationship, and QVC sold the
15     Model C hoverboards until Interworks ran out of inventory. As the holidays
16     approached, QVC wanted to purchase more Model C’s from Plaintiff on a “drop-
17     ship” basis. In “drop shipment,” QVC continues to sell the products, but the vendor
18     delivers the products directly to the consumer. Plaintiff, however, did not have the
19     ability to “drop ship” the hoverboards to QVC’s customers. (SOF ¶¶10, 11) In an
20     effort to facilitate the drop shipment, Plaintiff decided to sell the Model C’s to
21     Defendant, who had the ability to drop ship with QVC. (SOF ¶ 12)
22           A.     HOVERBOARD PURCHASES AND DISCOUNTS
23           On or about December 9, 2016, Defendant ordered 4800 Model C’s from
24     Plaintiff at $190/unit, agreeing to pay a total of $912,000.00, payable Net 60 Days.
25     (SOF ¶¶14, 15) Per Defendant’s instructions, Plaintiff shipped the hoverboards to
26     Phoenix Warehouse in the City of Santa Fe Springs in 8 separate shipments. A
27     true and correct copy of the 8 invoices reflecting these 8 shipments are attached
28     and incorporated hereto as Exhibit 2. A true and correct copy of the 8 picking


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 1     sheets reflecting the 8 separate shipments are attached and incorporated hereto as
 2     Exhibit 3. And a true and correct copy of the Bills of Lading for each of the 8
 3     shipments are attached and incorporated hereto as Exhibit 4. (SOF ¶¶16, 17). The
 4     two parties understood that Defendant was purchasing the same exact units that
 5     Plaintiff had been selling through QVC. (SOF ¶13). Defendant eventually
 6     requested, and Plaintiff provided, a discount of $30 per unit on 1,613 of the 4800
 7     hoverboards, a total discount of $48,390.00. A true and correct copy of the credit
 8     memo for this discount is attached and incorporated hereto as Exhibit 5. Thus,
 9     Defendant first purchased $863,610.00 worth of Model C’s. (SOF ¶18)
10           On or about December 23, 2016, Defendant ordered an additional 6000
11     Model C’s, this time agreeing to pay $215.00 each, Net 60 Days, for a total of
12     $1,290,000. (SOF ¶19) The hoverboards were shipped to the Defendant in 5
13     separate shipments. A true and correct copy of the purchase order sent by the
14     Defendant that reflects this purchase is attached and incorporated hereto as Exhibit
15     6. A true and correct copy of the 5 invoices reflecting the original purchase price
16     are attached and incorporated hereto as Exhibit 7. (SOF ¶¶19, 21)
17           Shortly thereafter, Defendant again requested a discount. Plaintiff relented
18     providing a discount of $55 per hoverboard. A true and correct copy of the 5
19     invoices reflecting the discounted price is attached and incorporated hereto as
20     Exhibit 8. (SOF ¶20). A true and correct copy of the 5 picking sheets reflecting the
21     5 separate shipments are attached and incorporated hereto as Exhibit 9. A true and
22     correct copy of the Bills of Lading for each of the 5 shipments are attached and
23     incorporated hereto as Exhibit 10. (SOF ¶21)
24           For the second purchase, Defendant received a total of 5808 hoverboards.
25     (SOF ¶22) While the hoverboards Digital Gadgets sold were identical to those
26     Interworks sold, since they originated from a different vendor, QVC assigned them
27     a new SKU number of T34764 (“764”). These 764 hoverboards were also
28     submitted to, and passed, QVC quality testing. (SOF ¶¶26-29)


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